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EXHIBIT A
KAUFMANN DEPOSITION

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that have been lost or abandoned in coral reef
environments for anywhere from a few days to
Many decades or centuries underwater.

A Uh-huh.

0 Are you talking about there -- as you're

in the field you're looking at those items?

A Correct.

Q Okay. This has included a good deal of
military and aeronautical debris. What

does -- what does that mean?

A tT had a project at Johnston Atoll which is
800 miles southwest of Honolulu. It isa
military base. There's an enormous amount of

material that was lost there and much of it we
had to map and steer clear of because it was
dangerous. Some of it was of historic interest

and that's what we did when we were taking a

break.

Qo And so you were diving, I take it, and
looking at this stuff and iden -= identifying
it.

A Yes. We -- we located some using

INagnetometers and side scan sonar and then we

just drove in it for fun or to know where to.

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there were so few objects sufficiently
remarkable to suggest that there should nave
been a much more detailed analysis.
9 And do you know what TIGHAR did with the
2010 video when they had it in their
possession?
A I certainly don't know everything they
did. One thing they did is show it to me and
that's all I really know.
2 Okay. Do you know te what extent they
analyzed that video?
A No, I do not. No.

MR. OVEN: I don't have anything further.
Thank you,

THE DEPONENT: That was easy.
THE DEPONENT: Oh, oh, oh.
CROSS-EXAMINATION
BY MR. MASTERSON:

9 Dr. KaufmanN, if you had a magic wand and

to conclusively determine if those photos

depict Earhart wreckage?

MR. MASTERSON: Well, you're not done yet.

could do anything you wanted, what would you do

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investigation, it was an excellent approach.
By itself, it does not provide sufficient

evidence to conclude that it's aircraft parts.

Q You've been to -- in 2009 and have

you -- have you been on the island itself?

A Yes,

9 And it sounds like a lot of time spent in

the water around it.

A More time spent in the water but I spent
several hours on the island.

Q Can you describe the environment in terms
of -- let me use the generic term trash and

other manmade materials?

A Oh, that was kind of amusing. Of course,
we had -~ well, we had two objectives on the
island. I was suppose to be looking at birds,

but If was really looking for Japanese fishing

glass floats because we prize those, and then I

was walking the beach which is hard to walk on
because it's all cobbles, looking for stuff
Barhart might have dropped and, I mean, the
truth will out. And the thing that astonished
me is how difficult I thought it would be to

identify anything from any particular person

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because there's so much garbage everywhere.
There's an enormous amount of trash on the
beach,

Q And, just for purposes of those of us who
haven't been there understanding, what kind of
things would you see?

A Well, there's a lot of derelict fishing
gear but then there is also just odd pieces of
flip flops and, I mean, this is actually
well-characterized, the -- the -- the rubber
and polymer trash of the ocean is mostly things
that fall off -~- we think they're falling off
container ships.

I didn't see any rubber ducks, I was
disappointed by that, but definitely a lot of
shoe stuff and, like, I don't remember bra
straps but that kind of thing.

Q I have to ask you about rubber ducks.

Io -- I remember ~-- I remember reading an
article about a container full of rubber ducks.
A Yes, that's why I was disappointed, I
realiy wanted one of those rubber ducks.

Qo And that was -- that was a whole bunch --

MR. OVEN: It's on ebay.

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